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Q%\ DALLAS DIvIsIoN
CLE]I;RK, U. CT COURT
Y
Deputy
RESEARCH IN MoTIoN LIMITED, ) ease NO.
RESEARCH IN MoTloN CoRPoRATIoN, )
Plaintiffs, §
) JURY TRIAL DEMANDED
VS.
) " 6 7 - D
vlsTo CoRPoRATloN, ) 3 0 C V 0' 8 3°
)
Defendant. )

COMPLAINT FOR DECLARATORY JUDGMENT OF
PATENT NON-INFRINGEMENT AND INVALIDITY

Plaintiffs Research in Motion Lirnited (“Rll\/l Ltd.”) and Research in Motion Corporation
(“RIM Corp.”), (collectively, “Rll\/I”), for their Complaint against Defendant Visto Corporation
(“Visto”), hereby demand a jury trial and allege as follows:
NATURE OF THE ACTION

l. This is an action arising under the patent laws of the United States, 35 U.S.C. § l,
et seq., and under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., for a declaratory
judgment that three patents owned by Visto are not infringed by RIM and are invalid.

PARTIES

2. Plaintiff RIM Ltd. is a corporation organized and existing under the laws of the
province of Ontario, Canada, having its principal place of business at 295 Phillip Street,
Waterloo, Ontario, Canada NZL 3W8.

3. Plaintiff RIM Corp. is a corporation organized under the laws of the state of
Delaware, having a principal place of business at 122 W. John Carpenter Parkway, Suite 430,

lrving, Texas 75039. RIM Corp. is the U.S. distributor of RIM Ltd. products and services.

COMPLAINT FOR DECLARATORY JUDGMENT OF

PATENT NON-INFRINGEMENT AND INVALlDITY Page 1
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4. Defendant Visto is a corporation organized and existing under the laws of the
state of Delaware, having its principal place of business at 275 Shoreline Drive, Suite 300,

Redwood Shores, California 94065.

JURISDICTION AND VENUE

5. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §§ 1331, 1338(a) and 2201 because this action seeks a declaratory judgment regarding
rights arising under the patent laws of the United States.

6. This Court has personal jurisdiction over Visto because Visto has established
minimum contacts With the forum and the exercise of jurisdiction over Visto would not offend
traditional notions of fair play and substantial justice because Visto does business in Texas and
solicits customers in Texas.

7. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b-c) and 1400(b)
because Visto is subject to personal jurisdiction in this District and does business in this District.

FACTUAL BACKGROUND FOR DECLARATORY JUDGMENT COUNTS

8. Visto is the assignee of record of United States Patent No. 6,085,192 entitled
“System and Method for Securely Synchronizing Multiple Copies of a Workspace Element in a
Network” (the “’192 patent”), attached hereto as Exhibit A, in addition to the Reexamination
Certiiicate for the ‘ 192 patent attached hereto as Exhibit B.

9. Visto is the assignee of record of United States Patent No. 6,151,606 entitled
“System and Method for Using a Workspace Data Manager to Access, Manipulate and
Synchronize Network Data” (the “’606 patent”), attached hereto as Exhibit C.

1(). Visto is the assignee of record of United States Patent No. 6,708,221 entitled
“System and Method for Globally and Securely Accessing Unified Information in a Computer

Network” (the “’221 patent”), attached hereto as Exhibit D.

COMPLAINT FOR DECLARATORY JUDGMENT OF

PATENT NON-INFRINGEMENT AND INVALIDITY Page 2
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Case 3:06-oV-OO783-D Dooument 1 Filed 05/01/06 Page 3 of 40 Page|D 3

11. Visto is the assignee of record of United States Patent No. 6,023,708 entitled
“System and Method for Using A Global Translator to Synchronize Workspace Elements Across
a Network” (the “’708 patent”). RIM is not seeking at this time a declaratory judgment
regarding the ‘708 patent because this patent is currently undergoing reexamination before the
United States Patent and Trademark Office.

12. Daniel Mendez, co-founder and senior vice president of intellectual property at
Visto, has publicly stated: “[w]e think that every company in this space has reason to believe
their technology infringes on Visto’s patents and they need to take a license from us before the
market can continue progressing.” See Ex. E, Munir Kotadia, Visto: RIM’s Legal Troubles
Have Only Just Begun, ZDNet Australia, Feb. 3, 2006.

13. A valid and justiciable controversy regarding the ‘192, ‘606 and ‘221 patents has
arisen between RIM and Visto that is properly presented for judicial relief under the Declaratory
Judgment Act, 28 U.S.C. §§ 2201 and 2202.

14. RIM has not infringed and is not infringing any valid and enforceable claim of the
’192, ’606, or ’221 patents. ln addition, the claims of the ‘192, ‘6()6 and ‘221 patents are invalid.

COUNT I

(Request for Declaratory Judgment of Non-Infringement and Patent Invalidity of U.S.
Patent No. 6,085,192)

15. RIM realleges and incorporates herein by reference the allegations contained in
Paragraphs 1 through 14.

16. RIM has not infringed, has not contributed to infringement by others of, and has
not induced infringement by others of any valid and enforceable claim of the ’192 patent, either
literally or under the doctrine of equivalents

17. Based on statements made by the applicant during prosecution of the ’ 192 patent,

COMPLAINT FOR DECLARATORY JUDGMENT OF

PATENT NON-INFRINGEMENT AND INVALIDITY Page 3
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Visto is estopped from asserting that RIM infringes the ’ 192 patent,
18. The ’192 patent is invalid for failing to satisfy one or more of the conditions of

patentability under 35 U.S.C. §§ 102, 103, and/or 112.

COUNT II
(Request for Declaratory Judgment of Non-Infringement and Patent Invalidity of U.S.
Patent No. 6,151,606)
19. RlM realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 14.

20. RIM has not infringed, has not contributed to infringement by others of, and has
not induced infringement by others of any valid and enforceable claim of the ’606 patent, either
literally or under the doctrine of equivalents.

21. Based on statements made by the applicant during prosecution of the ’606 patent,
Visto is estopped from asserting that RIM infringes the ’606 patent.

22. The ’606 patent is invalid for failing to satisfy one or more of the conditions of
patentability under 35 U.S.C. §§ 102, 103, and/or 112.

COUNT III

(Request for Declaratory Judgment of Non-Infringement and Patent Invalidity of U.S.
Patent No. 6,708,221)

23. RIM realleges and incorporates herein by reference the allegations contained in
Paragraphs 1 through 14.

24. RIl\/l has not infringed, has not contributed to infringement by others of, and has
not induced infringement by others of any valid and enforceable claim of the ’221 patent, either
literally or under the doctrine of equivalents

25. Based on statements made by the applicant during prosecution of the ’221 patent,

Visto is estopped from asserting that RIM infringes the ’221 patent.

COMPLAINT F()R DECLARATORY JUDGMENT OF

PATENT NON-INFRINGEMENT AND INVALIDITY Page 4
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26.

The ’221 patent is invalid for failing to satisfy one or more of the conditions of

patentability under 35 U.S.C. §§ 102, 103, and/or 112.

27.

JURY DEMAND
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, RIM hereby

respectfully requests a jury trial on all issues and claims so triable.

PRAYER FOR RELIEF

WHEREFORE, RIM prays for judgment as follows:

A.

Declare that RIM has not infringed, has not contributed to infringement by others
of, and has not induced infringement by others of any claims of the ’192, ’606,
and ’221 patents, either literally or under the doctrine of equivalents;

Declare that the claims of the ’192, ’606, and ’221 patents are invalid;

Enter an order preliminarily and permanently enjoining Visto, its officers,
directors, servants, managers, employees, agents, successors and assignees, and
all persons in active concert or participation with any of them, from directly or
indirectly charging RIM with infringement of any claim of the ’192, ’606, and
’221 patents;

Declare this case exceptional under 35 U.S.C. § 285 and award RIM its
reasonable attorneys’ fees, expenses and costs incurred in this action; and

Award RIM such other and further relief as this Court deems just and proper.

COMPLAINT FOR DECLARATORY JUDGMENT OF
PATENT NON-INFRINGEMENT AND INVALIDITY Page 5

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Dated: May 1, 2006

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Attomeys for Research in Motion Limited and
Research in Motion Corporation

COMPLAINT FOR DECLARATORY JUDGMENT OF

PATENT NON-INFRINGEMENT AND INVALIDITY

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Exhibit A

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United States Patent H,]

Mcndez et al.

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Date of Patent:

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Jul. 4, 2000

 

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SYSTEM AND METHOD FOR SECURELY
SYNCHRONIZING MULTIPLE COPIES OF A
WORKSPACE ELEMENT IN A NETWORK
Inventors: Daniel J. Mendez, Mountain View;
Mark D. Riggins, San Jose; Prasad
Wagle, Santa Clara; Christine C. Ying,
Foster City, all of Calif.
Assignee: RoamPage, Inc., Mountain View, Calif.
Appl. No.: 08/835,997
Filed: Apr. 11, 1997
Int. Cl.7 G06F 17/30
U.S. Cl. ............................ 707/10; 707/203; 707/104;
707/1; 707/9; 707/10
Field of Search 707/203, 104,
707/1, 9, 10
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(List continued on next page.)

Primary Examiner--Wayne Amsbury
Assistant Examiner_Shahid Alam
Attorney, Agent, or Firm_Graham & James LLP

[57} ABsTRACT

A system includes a general synchronization module at the
client site for operating within a first firewall and for
examining first version information to determine Whether a
first workspace element has been modified The system
further includes a synchronization agent at a global server
for operating outside the first firewall and for forwarding to
the general synchronization module second version infor-
mation which indicates whether an independently-
modifiable copy of the first workspace element has been
modified A synchronization-start module is maintained at
the client site for operating Within the first firewall and for
securely initiating the general synchronization module and
the synchronization agent when predetermined criteria have
been satisfied The system further includes means for gen-
erating a preferred version from the first workspace element
and from the copy by comparing the first version informa-
tion and the second version information, and means for
storing the preferred version at the first store and at the
second store.

25 Claims, 6 Drawing Sheets

 

 

   

 

 

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U.S. Patent Jul. 4, 2000 Sheec 6 ora 6,085,192

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of the Workspace Element Been
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l Send Updated Version to the Other Store l Versi°n to Other St°'e
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r Update Last Synchronization Signature |

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SYSTEM AND METHOD FOR SECURELY
SYNCHRONIZING MULTIPLE COPIES OF A
WORKSPACE ELEMENT IN A NETWORK

CROSS-REFERENCE TO RELATED
APPLICATIONS

Tliis application is related to co-pending patent applica-
tion entitled “System and Method for Globally Accessing
Computer Services,” Ser. No. 08/766,307, now pending,
filed on Dec. 13, 1996, by inventors Mark D. Riggins, R.
Stanley Bailes, Hong Q. Bui, David J. Cowan, Daniel J.
Mendez, Mason Ng, Sean Michael Quinlan, Prasad Wagle,
Christine C. Ying, Christopher R. Zuleeg and Joanna A.
Aptekar-Strober; and to co-pending patent application
entitled “System and Method for Enabling Secure Access to
Services in a Computer Network,” Ser. No. 08/841,950, now
pending, filed on Apr. 8, 1997, by inventor Mark Riggins,
both of which are hereby incorporated by reference. These
related applications have been commonly assigned to
RoarnPage, Inc.

BACKGROUND OF THE INVENTION

1. Field of the Invention

This invention relates generally to computer networks,
and more particularly to a system and method for securely
synchronizing multiple copies of a workspace element such
as a file in a secure network.

2. Description of the Baekground Art

Data consistency is a significant concern for computer
users For example, when maintaining multiple
independently-modifiable copies of a document, a user risks
using an outdated version. Further, by the time the user
notices the inconsistency, interparty miscommunication or
data loss may have resulted The user must then spend more
time attempting to reconcile the inconsistent versions

The problem of data inconsistency is exacerbated when
multiple copies of a document are maintained at different
network locations For example, due to network security
systems such as conventional firewall technology, a user
may have access only to a particular one of these network
locations Without access to the other sites, the user cannot
confirm that the version on the accessible site is the most
recent draft.

Therefore, a system and method are needed for providing
users with data consistency, and more particularly for syn-
chronizing multiple copies of a workspace element such as
a document in the secure network environment

SUMMARY OF THE INVENTION

The present invention provides a system and method for
synchronizing multiple copies of a workspace element iri a
secure network environment The secure network environ-
ment includes a global server connected to multiple clients
Using the present system and method, the clients automati-
cally synchronize workspace data between multiple sites,
independent of whether the sites are protected by site
fircwalls.

The present system includes a general synchronization
module at the client site for operating Within a first Hrewall
and for examining first version information to determine
whether a first workspace element has been modified The
system further includes a synchronization agent at the global
server for operating outside the first firewall and for for-
warding to the general synchronization module second ver-
sion information which indicates whether an independently-

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modifiable copy of the first Workspace element has been
modified A synchronization-start module. at the client site
operates within the first firewa]l and initiates the general
synchronization module and the synchronization agent when
predetermined criteria have been satisfied The system fur-
ther includes means for generating a preferred version from
the first workspace element and from the copy by comparing
the first version information and the second version
information, and means for storing the preferred version at
the first store and at the second store.

The system further handles the case When both the
workspace element and the copy have been modified inde-
pendently since the last date and time of synchronization
Accordingly, a content-based synchronization module per-
forms a responsive action such as determined a preferred
version or storing both the first workspace element and the
copy at both the first store and at the second store.

The present method includes the steps of generating first
examination results by examining first version information,
which indicates whether a first workspace element stored at
a first store within a firewall has been modified; and gener-
ating second examination results by examining second ver-
sion information which indicates whether an independently-
modifiable copy of the first workspace element, the copy
being stored at a second store outside the firewall, has been
modified The present method further includes the steps of
initiating synchronization from within the firewall when
predetermined criteria have been satisfied; generating a
preferred version from the first workspace element and from
the copy based on the first and second examination results;
and storing the preferred version at the first store and at the
second store.

The system and method advantageously use a trusted third
party to enable the synchronization of workspace data
among multiple sites Accordingly, a client user who main-
tains a work site, a home site, an off-site and the global
server site can synchronize the workspace data or portions
thereof among all four sites. Further, the predetermined
criteria (which controls when the synchronizationstart mod-
ule initiates synchronization) may be set so that the general
synchronization module synchronizes the Workspace data
upon user request, at predetermined times during the day
such as while the user is commuting, or after a predeter-
mined user action such as user log-olf or user log-on.
Because the system and method operate over the lnternet,
synchronization can occur over any distance. Since synchro-
nization is initiated from within the firewall, the typical
firewall, which prevents in-bound communications does not
act as an impediment to workspace data synchronization.
Also, since the user’s preferences may be previously set, the
present system and method may operate unattended by the
client user.

BRIEF DESCRIPTION OF THE DRAWINGS

FIG. 1 is a block diagram illustrating a secure data-
synchronizing network in accordance with the present
invention;

FIG. 2 is a block diagram illustrating details of a FIG. 1
service server;

FIG. 3 is a block diagram illustrating details of the FIG.
1 desktop computer;

FIG. 4 is a block diagram illustrating details of the FIG.
3 base system;

FIG. 5 is a block diagram illustrating details of the FIG.
1 synchronization agent; and

FIG. 6 is a iiowchart illustrating a method for synchro-
nizing multiple copies of a workspace element in a secure
network.

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DETAILED DESCRIPTION OF THE
PREFERRED EMBODIMENT

FIG. 1 is a block diagram illustrating a secure data-
synchronizing network 100, comprising a first site such as a
remote computer terminal 105 coupled via a communica-
tions channel 110 such as the Internet to a global server 120.
The global server 120 is in turn coupled via a communica-
tions channel 125 such as the Internet to a second site such
as a corporate local Area Network (LAN) 135. The global
server 120 is protected by a global firewall 115, and the
corporate LAN 135 is protected by a corporate firewall 130.

The corporate LAN 135 includes a corporate signal bus
140 coupling the corporate firewall 130 to an e-mail server
145 having e-mail data 165, to a file server 150 having file
data 170, to a calendar server 155 having calendar data 175
and to a desktop computer 160 having user data 180. lt will
be appreciated that the e-mail data 165, file data 170,
calendar data 175 and user data 180 or portions thereof may
be stored at different locations such as locally on the desktop
computer 160. lt will be further appreciated that the e-mail
data 165, file data 170, calendar data 175 and user data 180
are exemplary and collectively referred to herein as “work-
space data” 185. Those skilled in the art will recognize that
“Workspace data” may include other types of data such as
application programs lt will be further appreciated that the
e-mail data 165, file data 170, calendar data 175 and user
data 180 may each be divided into workspace elements,
wherein each Workspace element is identified by particular
version information 255 (described below with reference to
FIG. 2). Accordingly, each e-mail, tile, calendar, etc. may be
referred to as “a workspace element in workspace data.”

An independently modifiable copy of the Workspace data
185, referred to herein as workspace data 123, is stored on
the global server 120 for easy access by a user from the
remote terminal 105. Being a copy, the workspace data 123
includes independently modifiable copies of each workspace
element in workspace data 185 and an independently modi-
fiable copy of version information 255 (FIG. 2), referred to
herein as version information 124.

Network 100 further comprises synchronization means,
which includes a base system 190 stored within the corpo-
rate LAN 135 and for example on the desktop computer 160
and further includes a synchronization agent 126 stored
outside the corporate firewall 130 and preferably on the
global server 120. The base system 190 and the synchroni-
zation agent 126 cooperate to synchronize the workspace
data 185 with the workspace data 123. Generally, the base
system 190 manages the workspace data 185 within the
corporate LAN 135 and the synchronization agent 126
manages the workspace data 123 Within the global server
120. As described in greater detail below with reference to
FIG. 4, the base system 190 preferably initiates and controls
data synchronization. Other components and functions of
the global server 120 are described in the cross-referenced
patent applications which are herein incorporated by refer-
ence.

The remote terminal 105 may include a smart telephone
or a Personal Data Assistant (PDA) such as the PalmPilot
system by the U.S. Robotics, Inc. Although not shown, the
remote terminal 105 may include a second base system
similar to the base system 190, which is described with
greater detail with reference to FlG. 4. Accordingly, the
second base system on the remote terminal 105 would
cooperate With the synchronization agent 126 to synchronize
the Workspace data stored on the remote terminal 105 with
the workspace data 123 stored on the global server 120. As

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with the corporate LAN, the second base system on the
remote terminal 105 would preferably initiate and control
data synchronization with the global server 120 for the same
reasons discussed below. Workspace data on the remote
terminal 105 would thus be synchronized with the work-
space data 123 and with the workspace data 185,

FIG. 2 is a block diagram illustrating details of a service
server 200, wherein each of the e-mail server 145, the file
server 150, the calendar server 155 and the desktop com-
puter 160 is an instance thereof. Service server 200 includes
a Central Processing Unit (CPU) 205 such as a Motorola
Power PC® microprocessor or an Intel Pentium® micro-
processor. An input device 210 such as a keyboard and
mouse and an output device 215 such as a Cathode Ray Tube
(CRT) display are coupled via a signal bus 220 to CPU 205.
Acommunications interface 225 (such as an Ethernet port),
a data storage device 230 (such as read only memory or a
magnetic disk), and Random-Access Memory (RAM) 235
are further coupled via signal bus 220 to the CPU 205.

An operating system 240 includes a program for control-
ling processing by the CPU 205, and is typically stored in the
data storage device 230 and loaded into the RAM 235 for
execution. A service engine 245 includes a program for
performing a particular service such as maintaining an
e-mail data base, a calendar data base, a bookmarks data
base or another file data base, and may be also stored in the
data storage device 230 and loaded into the RAM 235 for
execution To perform a service, the service engine 245
operates on service data 250 (e.g., the e-mail data 165, the
file data 170, the calendar data 175 or the user data 180),
which is typically stored in the data storage device 250, The
service data 250 includes version information 255 indicating
the date and time of the last modification The service engine
245 operates to update the version information 255 When-
ever modifications are made. lt will be appreciated that the
portion of memory in the data storage device 250 which
contains the service data 250 is referred to as the service
“store.”

FIG. 3 is a block diagram illustrating details of the
desktop computer 160, which includes a CPU 305, an input
device 310, an output device 315, a communications inter-
face 325, a data storage device 330 and RAM 335, each
coupled to a signal bus 320.

An operating system 340 includes a program for control-
ling processing by the CPU 305, and is typically stored in the
data storage device 330 and loaded into the RAM 335 for
execution. A desktop service engine 345 (i.e., a particular
service engine 245, FIG. 2) includes a service program for
managing user data 180 (i.e., particular service data 250,
FIG. 2) Which includes version information 350 (i.e., par-
ticular version information 255, FIG. 2). The desktop service
engine 345 may be also stored in the data storage device 330
and loaded into the RAM 335 for execution. The user data
180 may be stored in the data storage device 330. As stated
above with reference to FIG. 1, the base system 1 90
operates to synchronize the workspace data 185 (which
includes user data 180) with the workspace data 123. The
base system 190 may be also stored in the data storage
device 330 and loaded into the RAM 335 for execution.

FIG. 4 is a block diagram illustrating details of the base
system 190, which includes a communications module 405,
a user interface module 410, a locator module 415, a
synchronization-start (“synch-start”) module 420, a general
synchronization module 425 and a content-based synchro-
nization module 430. For simplicity, each module is illus-
trated as communicating with one another via a signal bus
440.

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The communications module 405 includes routines for
compressing data, and routines for communicating via the
communications interface 325 (FIG. 3) with the synchroni-
zation agent 126 (FIG. 1). The communications module 405
may further include routines for applying Secure Socket
Layer (SSL) technology and user identification and authen-
tication techniques (i.e., digital certificates) to establish a
secure communication channel through the corporate fire-
wall 130 and through the global firewall 126. Examples of
communications modules 405 may include TCP/IP stacks or
the AppleTalk® protocol

The user interface 410 includes routines for communicat-
ing With a user, and may include a conventional Graphical
User lnterface (GUI). The user interface 410 operates in
coordination with the other desktop computer 160 compo-
nents as described herein.

The locator module 415 includes routines for identifying
the memory locations of the Workspace elements in the
workspace data 185 and the memory locations of the work-
space elements in the workspace data 123, Workspace
element memory location identification may be imple-
mented using intelligent software, i,e., preset memory
addresses or the system’s registry, or using dialogue boxes
to query a user. Accordingly, the locator module 415 deter-
mines the memory addresses of the workspace elements in
the e-mail data 165, the workspace elements in the file data
170, the workspace elements in the calendar data 175 and
the workspace elements in the user data 180 as well as the
memory addresses of the corresponding workspace elements
in the workspace data 123. It will be appreciated that the
locator module 415 may perform workspace element
memory location identification upon system boot-up or after
each communication with the global server 120 to maintain
updated memory locations of workspace elements

The synchronization-start module 420 includes routines
for determining when to initiate synchronization of work-
space data 123 and workspace data 185. For example, the
synchronization-start module 420 may initiate data synchro-
nization upon user request, at a particular time of day, after
a predetermined time period passes, after a predetermined
number of changes, after a user action such as user log-off
or upon like criteria. The synchronization-start module 420
initiates data synchronization by instructing the general
synchronization module 425 to begin execution of its rou-
tines lt will be appreciated that communications with syn-
chronization agent 126 preferably initiate from Within the
corporate LAN 1135, because the typical corporate tirewall
130 prevents in-bound communications and allows out-
bound communications

The general synchronization module 425 includes rou-
tines for requesting version information 124 from the syn-
chronization agent 126 (FIG. 1) and routines for comparing
the version information 255 against a last synchronization
signature 435 such as a last synchronization date and time to
determine which versions have been modified The general
synchronization module 425 further includes routines for
comparing the version information 124 and the version
information 255 to determine if only one or both versions of
a particular workspace element have been modified and
routines for performing an appropriate synchronizing
responsive action. Appropriate synchronizing responsive
actions may include forwarding the modified version (as the
preferred version) of a workspace element in workspace data
1 85 or forwarding just a compilation of the changes to the
other storc(s). Other appropriate synchronizing responsive
actions may include, if reconciliation between two modified
versions is needed, then instructing the content-based syn-

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chronization module 430 to execute its routines Which are
described below.

lt Will be appreciated that the synchronization agent 126
preferably examines the version information 124 and for-
Wards only the version information 124 determined to be
modified since the last synchronization signature 435. This
technique makes efficient use of processor power and avoids
transferring unnecessary data across the communications
channel 125. The general synchronization module 425 in the
corporate LAN 135 accordingly compares the received
version information 124 with the version information 255 to
determine if reconciliation is needed Upon completion of
the data synchronization, the general synchronization mod-
ule 425 updates the last synchronization signature 435.

The content-based synchronization module 430 includes
routines for reconciling two or more modified versions in
workspace data 123, 185 of the same workspace element,
For example, if the original and the copy of a user workspace
element have both been modified independently since the
last synchronization, the contentbased synchronization mod-
ule 430 determines the appropriate responsive action. The
content-based synchronization module 430 may request a
user to select the preferred one of the modified versions or
may respond based on preset preferences i.e., by storing
both versions in both stores or by integrating the changes
into a single preferred version which replaces each modified
version at both stores.

FIG. 5 is a block diagram illustrating details of the
synchronization agent 126, which includes a communica-
tions module 505 (similar to the communications module
405 described above with reference to FIG. 4) and a general
synchronization module 510 (similar to the general synchro-
nization module 425 described above also with reference to
FIG. 4). The communications module 505 includes routines
for compressing data, and routines for communicating via
the communications channel 125 with the base system 190,
The communications module 505 may further include rou-
tines for establishing a secure communications channel
through the global firewall 126 and through the corporate
firewall 130.

The general synchronization module 510 includes rou-
tines for comparing the version information 124 with the last
synchronization signature 435, and routines for forwarding
to the general synchronization module 425 version informa-
tion 124 determined to be modified The general synchro-
nization module 510 may either maintain its own last
synchronization signature 435 copy (not shown).
Alternatively, the request to synchronize from the base
system 190 may include a copy of the last synchronization
signature 435. The general synchronization module 510
further includes routines for receiving preferred versions of
workspace data 185 Workspace elements from the general
synchronization module 425, and routines for forwarding
preferred versions of Workspace data 123 workspace ele-
ments to the general synchronization module 425.

FIG. 6 is a fiowchart illustrating a method 600 for
synchronizing multiple copies of workspace data 123, 185 in
a secure network 100. Method 600 begins With locator
module 415 in step 605 identifying the memory locations of
the workspace elements in workspace data 123, 185. As
stated above, workspace element memory location identifi-
cation may be implemented using intelligent software or
dialogue boxes The user interface module 410 in step 610
enables selection of the workspace elements in workspace
data 123, 185 to be synchronized by the general synchro-
nization module 425,

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The synchronization-start module 420 in step 615 deter-
mines whether predetermined criteria have been met which
indicate that synchronization of the workspace elements
selected in step 610 should start. If not, then method 600
loops back to step 615. Otherwise, the communications
module 405 and communications module 505 in step 617
establish a secure communications channel between the
global server 120 and the desktop computer 160. The
general synchronization module 510 in step 620 compares
the version information 124 of each of the selected work-
space elements in workspace data 123 against the last
synchronization signature 435 to determine modified work-
space elements, and forwards the version information 124 of
workspace elements determined to be modified to the gen-
eral synchronization module 425. Further, the general syn-
chronization module 425 in step 620 compares the version
information 255 of each selected workspace element in the
workspace data 185 against the last synchronization signa-
ture 435 to locate modified workspace elements In this
embodiment, a workspace element has been modified if the
date and time of last modification is after the date and time
of last synchronization

If no modified workspace elements in workspace data 123
or in workspace data 185 are located, then the general
synchronization modules 425 and 510 in step 650 update the
last synchronization signature 435 and method 600 ends.
Otherwise, the general synchronization module 425 in step
625 determines whether more than one version of the same
Workspace element has been modified since the last syn-
chronization.

lf only one version has been modified, then the corre-
sponding general synchronization module 425 or 510 in step
630 forwards the updated preferred version of the workspace
element to the other store, and then in step 635 determines
whether all workspace elements selected in step 610 have
been examined If so, then method 600 jumps to step 650.
Otherwise, then method 600 returns to step 620.

lf more than one version has been modificd, then the
general synchronization module 425 in step 640 instructs the
content-based synchronization module 430 to reconcile the
modified versions. Reconciliation may include requesting
instructions from the user or, based on preselected
preferences, performing responsive actions such as storing
both versions at both stores.

General synchronization module 425, 510 in step 645
sends the preferred version of the workspace element or just
a compilation of the changes to the other store, That is, if the
preferred version is a workspace element in the workspace
data 185, then general synchronization module 425 sends
the preferred version or the changes to general synchroni-
Zation module 510 to update thc outdated workspace ele-
ment in the workspace data 123. lf the preferred version is
a workspace element in the workspace data 123, then the
general synchronization module 510 sends the preferred
version or the changes to the general synchronization mod-
ule 425 to update the outdated workspace element in the
workspace data 185. Method 600 then jumps to step 635.

The foregoing description of the preferred embodiments
of the invention is by way of example only, and other
variations of the above-described embodiments and methods
are provided by the present invention. For example,
although the global server 120 is illustrated as a single
device, the global server 120 may include several computers
networkcd together. Although not described in great detail,
the remote terminal 105 can synchronizc copies of work-
space elements stored on it with workspace elements of

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workspace data 123 stored on the global server 120. Com-
ponents of this invention may be implemented using a
programmed general purpose digital computer, using appli-
cation specific integrated circuits, or using a network of
interconnected conventional components and circuits. The
embodiments described herein have been presented for
purposes of illustration and are not intended to be exhaustive
or limiting Many variations and modifications are possible
in light of the foregoing teaching The system is limited only
by the following claims

What is claimed is:

1. A computer-based method comprising the steps of:

(a) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store within a firewall has been
modified;

(b) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store outside the firewall;

(c) initiating steps (a) and (b) from within the firewall
when predetermined criteria have been satisfied;

(d) generating a preferred version from the first work-
space element and from the copy based on the first and
second examination results; and

(e) storing the preferred version at the first store and at the
second store.

2. The method of claim 1 wherein the second store is on

a global server outside the firewall and which is protected by
a global firewall.

3. The method of claim 1 wherein the first version
information includes the date and time the first workspace
element was last modified and the second version informa-
tion includes the date and time the copy was last modified.

4. 'l`he method of claim 3 Wherein generating the first
examination results includes the step of comparing the first
version information against a date and time of last synchro-
nization.

5. The method of claim 3 wherein generating the second
examination results includes the step of comparing the
second version information against a date and time of last
synchronization

6. The method of claim 1 further comprising, before
generating the first examination results, the step of updating
the first version information whenever the first workspace
element is modified

7. 'l`he method of claim l further comprising, before
generating the second examination results, the step of updat-
ing the second version information Whenever the copy is
modified

8. The method of claim 1 wherein if only one of the first
workspace element and the copy has been modified, then the
step of generating includes selecting the one as the preferred
version.

9. The method of claim 1 further comprising the step of
locating the first workspace element, the first version
information, the copy and the second version information.

10. A system comprising;

a general synchronization module for operating within a
first firewall and for examining first version informa-
tion to determine Whether a first Workspace element has
been modified;

a synchronization agent for operating outside the first
firewall and for forwarding to the general synchroni-
Zation module second version information which indi-

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cates whether an independently modifiable copy of the
first workspace element has been modified;

a synchronization-start module for operating within the
first firewall and for initiating the general synchroni-
Zation module and the synchronization agent when
predetermined criteria have been satisfied;

means for generating a preferred version from the first
workspace element and from the copy by comparing
the first Version information and the second version
information; and

means for storing the preferred version at the first store

and at the second store.

11. The system of claim 10 further comprising a commu-
nications module for communicating through the first fire-
wall.

12. 'Ihe system of claim 10 wherein the synchronization
agent and the second store are on a global server which is
protected by a global firewall.

13. The system of claim 12 further comprising a commu-
nications module for communicating through the first fire-
wall and through the global firewall.

14. The system of claim 10 wherein the first version
information includes the date and time the first workspace
element was last modified and the second version inforrna-
tion includes the date and time the copy was last modified

15. The system of claim 14 wherein the general synchro-
nization module compares the first version information
against a date and time of last synchronization

16. The system of claim 14 wherein the synchronization
agent compares the second version information against the
date and time of last synchronization.

17. The system of claim 10 further comprising means for
updating the first version information whenever the first
workspace element is modified

18. The system of claim 10 further comprising means for
updating the second version information whenever the copy
is modified

19. The system of claim 10 wherein if only one of the first
workspace element and the copy has been modificd, then the
means for generating selects the one as the preferred version.

20. The system of claim 10 further comprising a locator
module for locating the first store, the first workspace
element, the first version information, the second store, the
copy and the second version information.

21. A system comprising:

first means for generating first examination results from
first version information which indicates whether a first
workspace element stored at a first store within a
firewall has been modified;

second means for generating second examination results
from second version information Which indicates
whether an independently-modifiable copy of the first
Workspace element has been modified, the copy being
stored at a second store outside the firewall;

means for initiating the first and second means from
within the firewall when predetermined criteria have
been satisfied;

means for generating a preferred version from the first
workspace element and from the copy based on the first
and second examination results; and

means for storing the preferred version at the Hrst store
and at the second store,
22. Acomputer-readable storage medium storing program
code for causing a computer to perform the steps of:

(a) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store Within a nrewall has been
modified;

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(b) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store outside the firewall;

(c) initiating steps (a) and (b) from Within the firewall
when predetermined criteria have been satisfied;

(d) generating a preferred version from the first work-
space element and from the copy based on the first and
second examination results; and

(e) storing the preferred version at the first store and at the
second store.

23. A computer-based method comprising the steps of:

(a) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store within a firewall has been
modified;

(b) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store outside the firewall;

(c) initiating steps (a) and (b) from within the firewall
when predetermined criteria have been satisfied;

(d) determining based on the first and second examination
results that both the first Workspace element and the
copy have been modified; and

(e) storing both the first workspace element and the copy
at the first store and at the second store.

24. A system comprising:

first means for generating first examination results from
first version information which indicates whether a first
workspace element stored at a first store within a
firewall has been modified;

second means for generating second examination results
from second version information which indicates
whether an independently-modifiable copy of the first
workspace element has been modified, the copy being
stored at a second store outside the firewall;

means for initiating the first and second means from
within the firewall when predetermined criteria have
been satisfied;

means for determining based on the first and second
examination results that both the first workspace ele-
ment and tlie copy have been modified; and

means for storing both the first file and the copy at the first
store and at the second store.

25. A system comprising:

a global server for operating outside a firewall and includ-
ing memory for storing first workspace data and cor-
responding first version information; and

a synchronization agent for managing the first workspace
data and the corresponding first version information
and for communicating with remote clients; and

a remote client for operating within the firewall and
including memory for storing second workspace data
and corresponding second version information;

means for cooperating with the synchronization agent to
synchronize the first workspace data with the second
workspace data by examining the first version infor-
mation and the second version information; and

a synchronization-start module for initiating workspace
data synchronization between the global server and the
remote client.

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Exhibit B

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United States Patent

Mendez et al.

(10) Numbcr: US 6,085,192 Cl
(45) Certificate Issued: Nov. 22, 2005

 

(54) SYSTEM AND METHOD FOR SECURELY
SYNCHRON[ZING MULTIPLE COPIES OF A
WORKSPACE ELEMENT IN A NETWORK

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Primary Examiner-Alford W. Kindred
(57) ABSTRACT

A system includes a general synchronization module at the
client site for operating within a first firewall and for
examining first version information to determine whether a
first workspace element has been modified The system
further includes a synchronization agent at a global server
for operating outside the first firewall and for forwarding to
the general synchronization module second version infor-
mation which indicates whether an independently-
modifiable copy of the first workspace element has been
modified A synchronization-start module is maintained at
the client site for operating within the first firewall and for
securely initiating the general synchronization module and
the synchronization agent When predetermined criteria have
been satisfied The system further includes means for gen-
erating a preferred version from the first Workspace element
and from the copy by comparing the first version informa-
tion and the second version information, and means for
storing the preferred version at the first store and at the
second store,

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1
EX PAR'I`E
REEXAMINATION CERTIFICATE
ISSUED UNDER 35 U.S.C. 307

THE PATENT lS HEREBY AMENDED AS
lNDlCATED BELOW.

Matter enclosed in heavy brackets [ ] appeared in the
patent, but has been deleted and is no longer a part of the
patent; matter printed in italics indicates additions made
to the patent,

ONLY THOSE PARAGRAPHS OF THE
SPEClFICATION AFFECTED BY AMENDMENT
ARE PRIN'I'ED HEREIN.

Column 4, lines 20~38:

An operating system 240 includes a program for control-
ling processing by the CPU 205, and is typically stored in the
data storage device 230 and loaded into the RAM 235 for
execution. A service engine 245 includes a program for
performing a particular service such as maintaining an
e-mail data base, a calendar data base, a bookmarks data
base or another file data base, and may be also stored in the
data storage device 230 and loaded into the RAM 235 for
execution. To perform a service, the service engine 245
operates on service data 250 (e.g., the e-mail data 165, the
file data 170, the calendar data 175 or the user data 180),
which is typically stored in the data storage device [250]
230. The service data 250 includes version information 255
indicating the date and time of the last modification The
service engine 245 operates to update the version informa-
tion 255 whenever modifications arc made. It will be appre-
ciated that the portion of memory in the data storage device
[250] 230 which contains the service data 250 is referred to
as the service “store.”

Column 4, lines 44-59:

An operating system 340 includes a program for control-
ling processing by the CPU 305, and is typically stored in the
data storage device 330 and loaded into the RAM 335 for
execution. A desktop service engine 345 (i.e., a particular
service engine 245, FlG. 2) includes a service program for
managing user data 180 (i.e., particular service data 250,
FIG. 2) which includes version information 350 (i.e., par-
ticular version information 255, FIG. 2). The desktop service
engine 345 may be also stored in the data storage devie 330
and loaded into the RAM 335 for execution. The user data
180 may be stored in the data storage 330. As stated above
with reference to FIG. 1, the base system [1 90] 190 operates
to synchronize the workspace data 185 (which includes user
data 180) with the workspace data 123. The base system 190
may be also stored in the data storage device 330 and loaded
into the RAM 335 for execution.

Column 5, lines 35-49:

The synchronization-start module 420 includes routines
for determining when to initiate synchronization of Work-
space data 123 and workspace data 185. For example, the
synchronization-start module 420 may initiate data synchro-
nization upon user request, at a particular time of day, after
a predetermined time period passes, after a predetermined
number of changes, after a user action such as user log-off
or upon like criteria. The synchronization-start module 420
initiates data synchronization by instructing the general
synchronization module 425 to begin execution of its rou-
tines. It will be appreciated that communications with syn-
chronization agent 126 preferably initiate from within the

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cooporate LAN []_135] 135, because the typical cooporate
firewall 130 prevents in-bound communications and allows
out-bound communications

Column 6, lines 15-27:

The content-based synchronization module 430 includes
routines for reconciling two or more modified versions in
workspace data 123, 185 of the same workspace element.
For example, if the original and the copy of a user workspace
element have both been modified independently since the
last synchronization, the [contentbased] content-based syn-
chronization module 430 determines the appropriate respon-
sive action. The content-based synchronization module 430
may request a user to select the preferred one of the modified
versions or may respond based on preset preferences, i.e., by
storing both versions iri both stores or by integrating the
changes into a single preferred version winch replaces each
modified version at both stores.

Column 6, lines 28-41:

FIG. 5 is a block diagram illustrating details of the
synchronization agent 126, which includes a communica-
tions module 505 (similar to the communications module
405 described above with reference to FIG. 4) and a general
synchronization module 510 (similar to the general synchro-
nization module 425 described above also with reference to
FIG. 4). The communications module 505 includes routines
for compressing data, and routines for communicating via
the communications channel 125 with the base system 190.
The communications module 505 may further include rou-
tines for establishing a secure communications channel
through the global firewall [126] 115 and through the
corporate firewall 130.

Column 6, lines 42-56:

The general synchronization module 510 includes rou-
tines for comparing the version information 124 with the last
synchronization signature 435, and routines for forwarding
to the general synchronization module 425 version infon'na-
tion 124 determined to be modified The general synchro-
nization module 510 may [either] maintain its own last
synchronization signature 435 copy (not shown).
Alternatively, the request to synchronize from the base
system 190 may include a copy of the last synchronization
signature 435. The general synchronization module 510
further includes routines for receiving preferred versions of
workspace data 185 workspace elements from the general
synchronization module 425, and routines for forwarding
preferred versions of Workspace data 123 workspace ele-
ments to the general synchronization module 425.

AS A RESULT OF REEXAMINATION, l’l` HAS BEEN

DETERMINED THAT:

Claim 19 is cancelled

Claims 1~2, 6-8, 10-11 and 21-25 are determined to be
patentable as amended

Claims 3-5, 9, 12~18 and 20, dependent on an amended
claim, are determined to be patentable.

1. A computer-based method comprising the steps of:

(a) establishing a communications channel through a
firewall using an HITP port or an SSL port,'

(b) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store within [a] the firewall has
been modified;

([b]c) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store on a smart phone outside the firewall;

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US 6,085,192 Cl

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([c]d) initiating steps ([a]b) and ([b]c) from within the
firewall through the communications channel when
predetermined criteria have been satisfied;

([d]e) generating a preferred version from the first work-
space element and from the copy based on the first and
second examination results, wherein if only one of the
first workspace element and the copy has been
modified, then the step of generating includes selecting
the one as the preferred version; and

([e]f) storing the preferred version at the first store and at
the second store,

2. [The method of claim 1] A computer-based method

comprising the steps of:

(a) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store within a firewall has been
modified;

(b) generating second examination results from second
version information which indicates whether an
independently-modijiable copy of the first workspace
element has been modified, the copy being stored at a
second store outside the firewall;

(c) initiating steps (a) and (b) from within the firewall
when predetermined criteria have been satisfied,

(d) generating a preferred version from the first work-
space element and from the copy based on the ]irst and
second examination results,' and

(e) storing the preferred version at the first store and at
the second store,'

wherein the second store is on a global server outside the
firewall and which is protected by a global firewall,

6. [The method of claim 1 further comprising,] A

computer-based method comprising the steps of:

(a) generating first examination results from first version
information which indicates whether a first workspace
element stored at a Frst store within a }irewall has been
modified;

(b) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store outside the jirewall,'

(c) initiating steps (a) and (b) from within the firewall
when predetermined criteria have been satisfied;

(d) generating a preferred version from the first work-
space element and from the copy based on the first and
second examination results,'

(e) storing the preferred version at the first store and at
the second store,' and

before generating the first examination results, the step of
updating the first version information whenever the first
workspace element is modified

7. [The method of claim 1 further comprising,] A com-

puter based method comprising the steps of.'

(a) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store within a firewall has been
modified;

(b) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store outside the firewall,'

(c) initiating steps (a) and (b) from within the firewall
when predetermined criteria have been satisfied;

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(d) generating a preferred version from the first work-
space element and from the copy based on the first and
second examination results;

(e) storing the preferred version ut the first store and at

5 the second store,' and

before generating the second examination results, the step
of updating the second version information whenever
the copy is modified

8. [The method of claim 1] A computer-based method

comprising the steps of:

(a) generating first examination results from first version
information which indicates whether u hrst workspace
element stored at a first store within a firewall has been
modified;

(b) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store outside the firewall;

(c) initiating steps (a) and (b) from within the firewall
when predetermined criteria have been satisfied;

(d) generating a preferred version from the first work-
space element and from the copy based on the first and
second examination results,'

(e) storing the preferred version at the first store and at
the second store; and

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wherein if only one of the first workspace element and the
copy has been modified, then the step of generating
includes selecting the one as the preferred version.
10. A system comprising:

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a communications channel through a firewall comprising
one of an HTH’ port and an SSL port;

a general synchronization module for operating within [a]
the first firewall and for examining first version infor-
mation to determine whether a first workspace element
at a hrst store has been modified;

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a synchronization agent for operating outside the first
firewall and for forwarding to the general synchroni-
Zation module second version information which indi-
cates whether an independently modifiable copy of the
first workspace element at a second store on a smart
phone has been modified;

a synchronization-start module for operating within the
first firewall and for initiating the general synchroni-
zation module and the synchronization agent when
predetermined criteria have been satisfied;

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means for generating a preferred version from the first
workspace element and from the copy by comparing
the first version information and the second version
information, wherein if only one of the first workspace
element and the copy has been modified then the means
for generating selects the one as the preferred version;
and

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means for storing the preferred version at the first store
and at the second store.
11. The system of claim 10 further comprising a commu-
60 nications module for communicating through the first
firewall, wherein the hrst firewall is positioned between a
trusted network and the Internet.
21. A system comprising:
first means for generating first examination results from
first version information which indicates whether a first
workspace element stored at a first store within a
firewall has been modified;

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second means for generating second examination results
from second version information which indicates
Whether an independently-modifiable copy of the first
workspace element has been modified, the copy being
stored at a second store on a smart phone outside the
firewall;

means for updating the first version information whenever
the hrst workspace element is modiJ€ed or updating the
second version information whenever the copy is modi-
fi€d;

means for initiating the first and second means from
within the firewall when predetermined criteria have
been satisfied;

means for generating a preferred version from the first
workspace element and from the copy based on the first
and second examination results; and

means for storing the preferred version at the first store
and at the second storc.

22. A computer-readable storage medium storing program
code for causing a computer-based system to perform the
steps of:

(a) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store within a firewall posi-
tioned between a trusted network and the Internet has
been modified;

(b) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace
element has been modified, the copy being stored at a
second store on a smart phone outside the firewall;

(e) initiating steps (a) and (b) from within the firewall
through an Internet communications channel when
predetermined criteria have been satisfied;

(d) generating a preferred version from the nrst work-
space element and from the copy based on the first and
second examination results, wherein if only one of the
first workspace element and the copy has been
modified, then selecting the one as the preferred ver-
sion; and

(e) storing the preferred version at the first store and at the
second store,

23. A computer-based method comprising the steps of:

(a) establishing a secure communications channel
through a firewall using an HTTP port or an SSL port,'

(b) generating first examination results from first version
information which indicates whether a first workspace
element stored at a first store within [a] the firewall has
been modified;

(c) before generating the )irst examination results, the step
of updating the first version information whenever the
jirst workspace element is modified;

([b]d) generating second examination results from second
version information which indicates whether an
independently-modifiable copy of the first workspace

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element has been modified, the copy being stored at a
second store outside the firewall;

([c]e) initiating steps ([a]b) and ([b]d) from within the
firewall when predetermined criteria have been satis-
fled;

([d]f) determining based on the first and second exami-
nation results that both the first workspace element and
the copy have been modified; and

([e]g) storing both the first workspace element and the
copy at the first store and at the second store, wherein
the second store comprises a smart phone.

24. A system eomprising:

first means for generating first examination results from
first version information which indicates whether a first
workspace element stored at a first store within a
nreWa]l has been modified;

second means for generating second examination results
from second version information which indicates
whether an independently-modifiable copy of the first
workspace element has been modified, the copy being
stored at a second store outside the firewall;

means for updating the first version information whenever
the jirst workspace element is modified or updating the
second version information whenever the copy is modi-
fied,'

means for initiating the first and second means from
Within the firewall when predetermined criteria have
been satisfied;

means for determining based on the first and second
examination results that both the first workspace ele-
ment and the copy have been modified; and

means for storing both thc first [file] workspace element
and the copy at the first store and at the second store,
wherein the second store comprises a smart phone

25, A system comprising:

a global server for operating outside a firewall and includ-
ing memory for storing first workspace data and cor-
responding first version information; and

a synchronization agent for managing the first workspace
data and the corresponding first version information
and for communicating with remote clients; [and]

means for updating the first version information whenever
the first workspace element is modified;

a remote client for operating within the firewall and
including memory for storing second workspace data
and corresponding second version information;

means for cooperating with the synchronization agent to
synchronize the first workspace data with the second
workspace data by examining the first version infor-
mation and the second version information; and

a synchronization-start module for initiating workspace
data synchronization between the global server and the
remote client.

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Exhibit C

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United States Patent [19]

[11] Patent Numbcr: 6,151,60()

 

Mendez [45] Date of Patent: Nov. 21, 2000
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WORKSPACE DATA MANAGER TO ACCESS, 5,706,502 1/1998 Foley et al. ............................... 707/10

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l73l

[21]
l22l

l51l
[52]

l58l

[56]

MANIPULATE AND SYNCHRONIZE
NETWORK DATA

Inventor: Daniel J. Mendez, Menlo Park, Calif.
Assignee: Visto Corporation, Mountain View,
Calif.

Appl. No.: 09/008,354

Filed: Jan. 16, 1998

Int. Cl.7 ...................................................... G06F 17/30

U.S. Cl. ................................. 707/201; 707/8; 707/10;
707/202; 707/203

Field of Search .................................. 707/8, 10, 202,

707/203, 506, 511; 709/103, 201, 204,
224, 228, 302, 303; 706/14, 45; 345/302,
340; 320/257, 463; 705/35; 395/500.32

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Primary Examiner_Thomas G. Black
Assistant Examiner-Diane D. Mizrahi
Attorney, Agent, or Firm_Graham & James LLP

[57] ABSTRACT

A system includes a communications module for download-
ing workspace data from a remote site, an application
program interface coupled to the communications module
for communicating with a workspace data manager to enable
manipulation of the downloaded workspace data and thereby
create manipulated data, and a general synchronization
module coupled to the communications module for synchro-
nizing the manipulated data with the workspace data stored
at the remote site. An instantiator requests the workspace
data manager to provide an interface for enabling manipu-
lation of the downloaded workspace data, The workspace
data manager may create another instance of the interface or
may provide access to its only interface to enable manipu-
lation of the data. A data reader may translate the down-
loaded workspace data from the format used by the remote
site to the format used by the workspace data manager Upon
logout, a de-instantiator synchronizes the data with the
global server and deletes the workspace data, The system
handles the situation Where the data stored at the remote site
has not changed and therefore includes the downloaded data,
and the situation the data stored at the remote site has been
modified and therefore is different than the downloaded data.

21 Claims, 6 Drawing Sheets

 

 

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COMMUNICATIONS MODULE

 

LOCATOR MODULES

 

GENERAL SYNCHRONIZATION MODULE ‘/ 715

 

CONTENT-BASED _/ 720

 

 

SYNCHRONIZATION MODULE
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730 ME)
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DATA READER f 735
PIM API f 740
DE-INSIANHATOR f 745
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(BoRRow ME) §

 

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